

   On review of an order certifying a conflict. The court determines that a conflict exists. The parties are ordered to brief the issue stated at page 2 of the court of appeals' judgment entry filed February 13, 2018: "Is trial counsel's failure to file a motion to waive court costs at sentencing ineffective assistance of counsel when defendant has previously been found indigent?"
  

   The conflict case is State v. Springer, 8th Dist. Cuyahoga No. 104649,
   
    2017-Ohio-8861
   
   .
  

   It is ordered by the court that the clerk shall issue an order for the transmittal of the record from the court of appeals for Licking County.
  

   O'Donnell and DeWine, JJ., dissent.
  
